        Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 1 of 54




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


FEDERAL TRADE COMMISSION,

    Plaintiff,

   v.                                     Civil Action No. 1:19-cv-5727-AT

FLEETCOR TECHNOLOGIES, INC.,
et al.,

    Defendants.


  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION
                 FOR SUMMARY JUDGMENT
         Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 2 of 54




                                    TABLE OF CONTENTS
I.       Introduction......................................................................................................1
II.      Summary of Material Facts .............................................................................1
III.     Legal Standard .................................................................................................6
IV.      The FTC Is Entitled To Summary Judgment on Each Count .........................6
         A.       Defendants Deceptively Marketed Their Fuel Cards ............................7
                  1.        Defendants Deceptively Represented that Customers Would
                            Save a Specific Per-Gallon Amount on Fuel (Count I) ..............8
                  2.        Defendants Deceptively Represented that Customers Could
                            Limit Purchases to “Fuel Only” (Count II)...............................15
                  3.        Defendants Deceptively Represented that FleetCor Would Not
                            Charge Set-Up, Transaction, or Annual Fees (Count III) .........17
         B.       Defendants Charged Customers for Unexpected Fees ........................18
                  1.        Defendants Engaged in Unfair Practices by Charging
                            Customers Fees Without Consent (Count V) ...........................19
                  2.        Defendants Deceived Customers by Representing that
                            Customers Owed Amounts for Unauthorized Fees (Count IV)31
         C.       Clarke Is Individually Liable for FleetCor’s Unlawful Practices .......32
                  1.        Clarke Had Authority to Control and Participated in the
                            Unlawful Practices ....................................................................33
                  2.        Clarke Had Knowledge of the Unlawful Practices ...................35
V.       The Court Should Grant Injunctive and Equitable Monetary Relief ............38
         A.       Injunctive Relief Is Warranted ............................................................39
         B.       Monetary Relief Is Warranted .............................................................41
VI.      Defendants’ Affirmative Defenses Are Without Merit .................................45
VII. Conclusion .....................................................................................................45




                                                             i
         Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 3 of 54




                                   TABLE OF AUTHORITIES
Cases
Boldstar Tech., LLC v. Home Depot, Inc.,
 517 F. Supp. 2d 1283 (S.D. Fla. 2007) .................................................................45
CFTC v. Tayeh,
 2012 WL 794542 (11th Cir. Mar. 2, 2012) ...........................................................42
Danone US, LLC v. Chobani, LLC,
 362 F.Supp. 3d 109 (S.D.N.Y. 2019)....................................................................11
Fedders Corp. v. FTC,
 529 F.2d 1398 (2d Cir. 1976) ................................................................................40
FTC v. Alcoholism Cure Corp.,
 2011 WL 13137951 (M.D. Fla. Sept. 16, 2011) .................................. 8, 15, 25, 33
FTC v. Amazon.com, Inc.,
 2016 WL 10654030 (W.D. Wash. July 22, 2016) .................................... 20, 21, 31
FTC v. AMG Servs., Inc.,
 29 F. Supp. 3d 1338 (D. Nev. 2014) .....................................................................11
FTC v. Brown & Williamson Tobacco Corp.,
 778 F.2d 35 (D.C. Cir. 1985) ................................................................................10
FTC v. Capital Choice Consumer Credit, Inc.,
 2004 WL 5149998 (S.D. Fla. Feb. 20, 2004) .........................................................7
FTC v. Citigroup Inc.,
 239 F.Supp.2d 1302 (N.D. Ga. 2001) ...................................................................39
FTC v. Commerce Planet, Inc.,
 815 F.3d 593 (9th Cir. 2016).................................................................................32
FTC v. Crescent Pub. Grp., Inc.,
 129 F. Supp. 2d 311 (S.D.N.Y. 2001)............................................................ 21, 27
FTC v. Direct Benefits Grp., LLC,
 2012 WL 5430989 (M.D. Fla. Nov. 7, 2012) .................................... 13, 20, 21, 39
FTC v. Direct Mktg. Concepts, Inc.,
 624 F.3d 1 (1st Cir. 2010) .............................................................................. 13, 45
FTC v. E.M. Sys. & Servs., LLC,
 2017 WL 8794849 (M.D. Fla. Jan. 17, 2017) .......................................................12
                                     ii
         Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 4 of 54




FTC v. Figgie Int’l, Inc.,
 994 F.2d 595 (9th Cir. 1993)............................................................................ 7, 41
FTC v. Five-Star Auto Club, Inc.,
 97 F. Supp. 2d 502 (S.D.N.Y. 2000).............................................................. 12, 17
FTC v. Gem Merch. Corp.,
 87 F.3d 466 (11th Cir. 1996).......................................................................... 32, 38
FTC v. Glob. Mktg. Grp., Inc.,
 594 F. Supp. 2d 1281 (M.D. Fla. 2008) ................................................................33
FTC v. Holiday Enters.,
 2008 WL 953358 (N.D. Ga. Feb. 5, 2008) ...........................................................37
FTC v. Hornbeam Special Situations, LLC,
 308 F. Supp. 3d 1280 (N.D. Ga. 2018) ..................................................................36
FTC v. IAB Mktg. Assocs.,
 746 F.3d 1228 (11th Cir. 2014)...................................................................... 32, 35
FTC v. IFC Credit Corp.,
 543 F. Supp. 2d 925 (N.D. Ill. 2008) ....................................................................21
FTC v. Inc21.com Corp.,
 745 F. Supp. 2d 975 (N.D. Cal. 2010) ........................................................... 21, 32
FTC v. J.K. Publ’ns, Inc.,
 99 F. Supp. 2d 1176 (C.D. Cal. 2000) ..................................................................31
FTC v. Kennedy,
 574 F. Supp. 2d 714 (S.D. Tex. 2008) ..................................................................21
FTC v. Lanier Law, LLC,
 194 F. Supp. 3d 1238 (M.D. Fla. 2016) ............................................... 7, 36, 39, 40
FTC v. Life Mgmt. Servs.,
 350 F. Supp. 3d 1246 (M.D. Fla. 2018) ................................................................41
FTC v. Nat’l Urological Grp., Inc.,
 645 F. Supp. 2d 1167 (N.D. Ga. 2008), ......................................... 8, 15, 33, 35, 39
FTC v. Neovi, Inc.,
 598 F. Supp. 2d 1104 (S.D. Cal. 2008) .................................................................21
FTC v. NPB Advertising, Inc.,
 218 F. Supp. 3d 1352 (M.D. Fla. 2016) ..................................................................8
                                                      iii
         Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 5 of 54




FTC v. On Point Glob. LLC,
 2020 WL 5819809 (S.D. Fla. Sept. 30, 2020) ......................................................42
FTC v. Partners In Health Care Ass’n, Inc.,
 189 F. Supp. 3d 1356 (S.D. Fla. 2016) .......................................................... 35, 45
FTC v. Primary Grp. Inc.,
 713 F. App’x 805 (11th Cir. 2017) .......................................................................35
FTC v. Simple Health Plans, LLC,
 801 F. App’x 685 (11th Cir. 2020) .......................................................... 38, 41, 42
FTC v. Tashman,
 318 F.3d 1273 (11th Cir. 2003)...............................................................................7
FTC v. Transnet Wireless Corp.,
 506 F. Supp. 2d 1247 (S.D. Fla. 2007) ...................................................................7
FTC v. Verity Int’l, Ltd.,
 443 F.3d 48 (2d Cir. 2006) ....................................................................................32
FTC v. Vylah Tec LLC,
 378 F. Supp. 3d 1134 (M.D. Fla. 2019) ......................................................... 41, 42
FTC v. Wash. Data Res.,
 856 F. Supp. 2d 1247 (M.D. Fla. 2012) ................................................... 14, 41, 42
FTC v. Wash. Data Res., Inc.,
 704 F.3d 1323 (11th. Cir. 2013)............................................................................42
FTC v. Windward Mktg., Inc.,
 1997 WL 33642380 (N.D. Ga. Sept. 30, 1997) ........................... 14, 18, 19, 31, 32
In re Cliffdale Assocs., Inc.,
  103 F.T.C. 110, 1984 WL 565319 (1984) ............................................... 14, 16, 17
In re Int’l Harvester Co.,
  104 F.T.C. 949, 1984 WL 565290 (1984) ...................................................... 20, 21
Liu v. SEC,
  140 S. Ct. 1936 (2020) ..........................................................................................42
McGregor v. Chierico,
 206 F.3d 1378 (11th Cir. 2000).............................................................................41
Orkin Exterminating Co. v. FTC,
 849 F.2d 1354 (11th Cir. 1988)................................................................ 19, 21, 31
                                                         iv
          Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 6 of 54




POM Wonderful, LLC v. FTC,
 777 F.3d 478 (D.C. Cir. 2015) ..............................................................................32
Removatron Intern. Corp. v. FTC,
 884 F.2d 1489 (1st Cir. 1989) ...............................................................................10
Resort Car Rental Sys., Inc. v. FTC,
 518 F.2d 962 (9th Cir. 1975)...................................................................................9
Statutes, Rules & Other Authorities
15 U.S.C. § 45 ..................................................................................................... 7, 19
15 U.S.C. § 53 ..........................................................................................................39
Fed. R. Civ. P. 56 ......................................................................................................6
FleetCor Tech., Inc. 2020 10-K, (Feb. 26, 2021) ....................................................42

FTC Staff Report, Effects of Bristol Windows Advertisement with an “Up To”
 Savings Claim on Consumer Take-Away and Beliefs (May 2012) .....................10




                                                            v
        Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 7 of 54




I.     Introduction
       Since 2014, Defendants FleetCor Technologies, Inc. and its CEO Ron Clarke

(collectively, “FleetCor” or “Defendants”) have enticed small and medium-sized
businesses to sign up for their fuel cards by making a number of promises: that

customers will save a specific amount on each gallon of fuel (Count I); that they can

limit purchases to “fuel only” (Count II); and that FleetCor will not charge them

transaction fees (Count III). Not only have these promises been false, but FleetCor

has then billed customers for a multitude of unexpected fees (Counts IV & V). The

undisputed facts show that Defendants have engaged in textbook “unfair or deceptive
practices” in violation of Section 5 of the FTC Act, 15 U.S.C. § 45, and that the

requested injunctive and monetary relief is reasonable and warranted.
II.    Summary of Material Facts
       FleetCor markets and sells fuel cards to businesses and other organizations that

own vehicles and employ people to drive them.1 FleetCor’s fuel cards generally fall

into three categories: (1) Fuelman cards accepted by participants in FleetCor’s

proprietary network; (2) Mastercard cards accepted within the Mastercard network;

and (3) co-branded cards that are offered in partnership with major fuel retailers (e.g.,

BP, Kwik Trip) and operate on either the Fuelman or Mastercard network.2

       The vast majority of FleetCor’s customers are small or medium-sized


1
  Statement of Material Facts (“SMF”) ¶¶ 6; Ex. 187, at slide 6. “Ex.” Refers to the exhibits
attached to the Declaration of Thomas Kost.
2
  SMF ¶¶ 12, 19, 22-23, 26.


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Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 8 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 9 of 54
      Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 10 of 54




programs and keeps charging them unless they catch on and affirmatively opt out.11
      A wealth of record evidence shows that customers are overwhelmingly

unaware of the transaction and add-on program fees. The FTC’s expert, Dr. Jon

Krosnick, conducted a phone survey of more than 150 current and former FleetCor
customers. Using FleetCor’s own data, Dr. Krosnick determined which fees each

customer paid and asked the customers whether they had been made aware of each

fee at the time of sign-up, through any updates sent by FleetCor, or through
FleetCor’s billing documents. Dr. Krosnick found that only 7 percent of customers

were informed in advance about all fees FleetCor later charged them.12 Dr. Krosnick

also found that only 25 percent of customers saw those fees on bills after they were
charged. Dr. Krosnick’s findings could not be surprising to Defendants. Indeed,

years of customer surveys commissioned by FleetCor have shown the same thing:

Customers are not aware of FleetCor’s fees and do not expect to be charged them.13

      Customers are not aware because FleetCor has taken steps to hide these fees

both before and after they are charged. First, FleetCor has not informed prospective

customers about fees during the sales or sign-up process. Sales representatives are

uninformed about the fees, and FleetCor’s fine-print, confusing terms and conditions

(“T&Cs”) have not clearly set forth what fees consumers will incur, and in what


11
   SMF ¶¶ 146-175; Ex. 23, at FLT_FTCLIT_0833335; Ex. 211, FLT_FTCLIT_0813864, at slides
3-5; Ex. 54, Rachide Dep., at 103:10-105:17; Ex. 8, Miles Decl., tbl. 10.
12
   SMF ¶¶ 187-194; Ex. 41, Krosnick Rep. ¶ 16.
13
   SMF ¶¶ 195-206; see infra n.60.


                                            4
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 11 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 12 of 54
      Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 13 of 54




      A. Defendants Deceptively Marketed Their Fuel Cards
      Section 5 of the FTC Act prohibits “deceptive acts or practices in or affecting

commerce.” 15 U.S.C. § 45(a). Proving deception requires that “(1) there was a

representation; (2) the representation was likely to mislead customers acting

reasonably under the circumstances[;] and (3) the representation was material.” FTC

v. Tashman, 318 F.3d 1273, 1277 (11th Cir. 2003). Notably, Section 5 does not

require proof that individual consumers actually relied on the misleading

representation; instead, a “presumption of actual reliance” arises if the defendant’s

misrepresentations were “widely disseminated” and “consumers purchased the
defendant’s product.” FTC v. Figgie Int’l, Inc., 994 F.2d 595, 605-06 (9th Cir. 1993);

see also FTC v. Lanier Law, LLC, 194 F. Supp. 3d 1238, 1273-74 (M.D. Fla. 2016)

(“[A] ‘tendency to deceive’ is all that is required, such that proof of actual consumer
deception is unnecessary.” (citation omitted)); FTC v. Transnet Wireless Corp., 506

F. Supp. 2d 1247, 1266 (S.D. Fla. 2007) (proof of “subjective reliance by each

victim” not required). Nor does Section 5 require proof that the defendant intended

to mislead consumers. FTC v. Capital Choice Consumer Credit, Inc., 2004 WL

5149998, at *33 (S.D. Fla. Feb. 20, 2004).

      The undisputed facts show that FleetCor has violated Section 5 by making a

series of deceptive advertising claims to entice prospective customers: that they

would achieve specific per-gallon savings with certain cards (Count I), that they

could restrict purchases made with Mastercard products to “fuel only” (Count II), and

that Fuelman products did not have set-up, transaction, or annual fees (Count III).


                                             7
       Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 14 of 54




The Court should grant summary judgment in the FTC’s favor, as courts regularly do

in cases involving deceptive practices. E.g., FTC v. NPB Advertising, Inc., 218 F.

Supp. 3d 1352 (M.D. Fla. 2016); FTC v. Nat’l Urological Grp., Inc., 645 F. Supp. 2d

1167 (N.D. Ga. 2008), aff’d, 356 F. App’x 358 (11th Cir. 2009).
              1. Defendants Deceptively Represented that Customers Would Save
                 a Specific Per-Gallon Amount on Fuel (Count I)
       FleetCor has violated Section 5 by misrepresenting that customers with certain

cards would achieve a specific amount of per-gallon savings at all locations where the

cards were accepted. Courts “look to the advertisement’s overall, net impression” to

determine whether an advertisement conveys a representation. Nat’l Urological

Grp., 645 F. Supp. 2d at 1189. Even where an advertisement “also contains truthful
disclosures,” it “may be likely to mislead by virtue of the net impression it creates.”

FTC v. Alcoholism Cure Corp., 2011 WL 13137951, at *25 (M.D. Fla. Sept. 16,

2011) (citation omitted). Extrinsic evidence is not required where “the advertisement

explicitly states or clearly and conspicuously implies [the] claim.” Id. (citing Nat’l

Urological Group, Inc., 645 F. Supp. 2d at 1189).

       Here, FleetCor’s advertisements for certain Fuelman and Mastercard products25

have promised that consumers would realize a specific per-gallon savings everywhere

the cards were accepted (the “Fuelman Network” and “Mastercard Network,”


25
  FleetCor made the deceptive per-gallon savings representations in advertisements for the
following Fuelman products: Diesel Platinum, Commercial Platinum, and Discount Advantage.
FleetCor also made these representations in advertisements for the Universal Premium Mastercard
product (UNMC). SMF ¶¶ 48, 56-58, 71-72, 81-82; Exs. 6, 7, 9, 10, 11, 12, 13, 18.


                                               8
      Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 15 of 54




respectively). Fuelman ads have emphasized “everyday savings” in the large-print

headline atop the advertisements.26 Just below that, the advertisement expressly

states: “Throughout the Fuelman Network, the Fuelman Commercial Platinum

FleetCard offers a 5¢ per gallon discount on both unleaded and diesel fuel.*”27 Then,

in the middle of the ad—set off from the rest of the text by a blue background—the

claim appears again:28




Through this repetitive language, potential customers are left with the net impression
that they would save five cents per gallon on fuel purchases made with Fuelman

cards. Resort Car Rental Sys., Inc. v. FTC, 518 F.2d 962, 964 (9th Cir. 1975) (no

further evidence needed where a claim is express or its “connotations are obvious”).
      The Universal Premium Mastercard (“UNMC”) ads have conveyed the same

message. The bolded, large-print headline, set above and apart from the rest of a

UNMC advertisement, states: “Save up to 6¢ per gallon wherever MasterCard is

accepted.”29 This representation conveys that fuel purchases made with a UNMC
26
   E.g., SMF ¶¶ 51, 62, 76, 86; Ex. 11, FLT_FTC00003216.
27
   E.g., id.
28
   E.g., id.
29
   E.g., SMF ¶ 86; Ex. 13, FTC-Prod-00151586.


                                             9
       Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 16 of 54




card would save six cents per gallon. The use of “up to” does not alter this net

impression. Empirical research by the FTC on “up to” advertising claims shows that

the phrase often has no impact and that consumers commonly expect that they will

achieve the maximum savings promised.30 In other words, simply including the

words “up to” does not affect the overall takeaway that a consumer can expect to

achieve six cents per gallon on purchases made with a UNMC card. And even if an

“up to” claim were interpreted differently, as discussed below, it was literally
impossible for consumers to save six cents per gallon at thousands of fueling

locations where Mastercard is accepted.

       Although both Fuelman and UNMC ads have contained some disclaimers
denoted by a small asterisk,31 they appear in fine print relegated to “an inconspicuous

position at the bottom of the advertisements” and thus cannot alter the clear net

impression created by the prominent per-gallon savings claims, including the ad

headlines. FTC v. Brown & Williamson Tobacco Corp., 778 F.2d 35, 43 (D.C. Cir.

1985) (disclaimer did not alter prominent claim); see also Removatron Intern. Corp.

v. FTC, 884 F.2d 1489, 1497 (1st Cir. 1989) (disclaimers ineffective “unless they are
sufficiently prominent and unambiguous to change the apparent meaning of the

claims and to leave an accurate impression” (citation omitted)). Moreover, the text of


30
   SUF ¶ 87; Ex. 14, FTC Staff Report, Effects of Bristol Windows Advertisement with an “Up To”
Savings Claim on Consumer Take-Away and Beliefs (May 2012).
31
   E.g., SMF ¶¶ 50-51, 60-62, 74-76, 84-86; Ex. 11, FLT_FTC00003216; Ex. 13, FTC-Prod-
00151586.


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Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 17 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 18 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 19 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 20 of 54
      Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 21 of 54




             2. Defendants Deceptively Represented that Customers Could Limit
                Purchases to “Fuel Only” (Count II)
      FleetCor has violated Section 5 by misrepresenting that purchases made with

its Mastercard cards42 could be restricted to “fuel only” purchases when, in fact, the

cards could not be restricted that way and have been used to purchase non-fuel items.
      FleetCor’s “fuel only” representations have been express, and thus the Court

needs no extrinsic evidence to determine their net impression. Nat’l Urological Grp.,

Inc., 645 F. Supp. 2d at 1189; Alcoholism Cure Corp., 2011 WL 13137951, at *25.

Indeed, advertisements for FleetCor’s Mastercard products have conveyed a

consistent and unqualified message that customers could:

           “restrict card purchasing to fuel or fuel and maintenance only,”43

           restrict “purchasing functionality” to “fuel only,”44 and

           “restrict purchasing to fuel only.”45
This message has been reinforced by FleetCor’s applications for these products,

which have presented “Fuel Only” as one of the “Card Access” options available to

customers.46 The clear net impression is that consumers could restrict FleetCor’s


42
   Universal Premium FleetCard Mastercard and BuilderPro Mastercard.
43
   SMF ¶¶ 106-111; Ex. 18, FTC-Prod-00151582 to FTC-Prod-00151586
44
   SMF ¶¶ 106-111; Ex. 19, FLT_FTC00000034, FLT_FTC00000036, FLT_FTC00000163,
FLT_FTC00000165, FLT_FTCLIT_0764528, FLT_FTCLIT_0764546.
45
   SMF ¶¶ 106-111; Exs. 18, FTC-Prod-00151520 to FTC-Prod-00151527.
46
   SMF ¶¶ 112-115; Ex. 71, FLT_FTC00000233; Ex. 26, FLT_FTC00000315; Ex. 73,
FLT_FTC00001162; Ex. 74, FLT_FTC00000260; Ex. 75, FLT_FTC00000291; Ex. 206,
FLT_FTCLIT_0764480; Ex. 76, FLT_FTC00238784; Ex. 77, FLT_FTC00000948; Ex. 72,
FLT_FTC0000315; Ex. 207, FLT_FTCLIT_0000155.


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Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 22 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 23 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 24 of 54
      Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 25 of 54




studies and Dr. Krosnick’s survey, customers largely did not know these fees

existed.58 In many instances, FleetCor also charged late fees when customers actually

paid their bills fully and on time. The undisputed facts show that these practices were

unfair. And FleetCor’s representations on bills that customers actually owed these

fees were deceptive because customers never authorized the fees in the first place.
             1. Defendants Engaged in Unfair Practices by Charging Customers
                Fees Without Consent (Count V)
      Section 5 of the FTC Act prohibits “unfair … acts or practices in or affecting
commerce.” 15 U.S.C. § 45(a)(1), (n). To prove unfairness, the FTC must show that

(1) the conduct “result[ed] in substantial consumer injury,” (2) the injury was “not

reasonably avoidable,” and (3) the injury “is not outweighed by any countervailing

benefits to consumers or to competition.” Windward Mktg., Inc., 1997 WL

33642380, at *10; see also Orkin Exterminating Co. v. FTC, 849 F.2d 1354, 1364

(11th Cir. 1988). Here, FleetCor’s practice of billing customers without obtaining

express informed consent satisfies each element.
                 a) Charging Unexpected Fees Caused Substantial Injury
      There is “substantial injury” where “consumers … were injured by a practice for

which they did not bargain.” Windward Mktg., Inc., 1997 WL 33642380, at *11. This

includes “do[ing] small harm to a large number of consumers” or “severe harm to a

small number” of consumers.” In re Int’l Harvester Co., 104 F.T.C. 949, 1984 WL


58
 Minimum Program Administration Fee, Level 2 Pricing/High Risk Credit Fee, Convenience
Network Surcharge, Accelerator Rewards, Clean Advantage, FleetDash, Fraud Protector.


                                            19
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 26 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 27 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 28 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 29 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 30 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 31 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 32 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 33 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 34 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 35 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 36 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 37 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 38 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 39 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 40 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 41 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 42 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 43 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 44 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 45 of 54
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 46 of 54
       Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 47 of 54




would prohibit Defendants from making any savings claims without adequate

substantiation. Part II would prohibit Defendants from charging any consumer

without obtaining express informed consent. And Part III prohibits Defendants from

charging customers for any payment received on or before the applicable due date.
The remaining parts address equitable monetary relief, discussed below, and

monitoring and recordkeeping provisions common in FTC law enforcement matters.
       B. Monetary Relief Is Warranted
       The Court also should order Defendants to pay equitable monetary relief based

on the deceptive and unfair practices described above. Binding Eleventh Circuit
precedent has long held that Section 13(b) allows the FTC to obtain monetary relief142

via a two-step framework. Gem Merch. Corp., 87 F.3d at 469; Simple Health Plans,

801 F. App’x at 687-88. First, “[t]he FTC bears the burden to show the

‘reasonably approximate’ amount of the defendant’s unjust gain.” Wash. Data Res.,

856 F. Supp. 2d at 1281. “Exactitude is not a requirement” at this step, FTC v. Vylah

Tec LLC, 378 F. Supp. 3d 1134, 1139 (M.D. Fla. 2019), and the calculation “may be

properly based on estimates,” FTC v. Life Mgmt. Servs., 350 F. Supp. 3d 1246, 1274

(M.D. Fla. 2018).143 “The correct measure of unjust gains is the amount of net

142
    Defendants may argue that the fact that the Supreme Court has heard oral argument on this issue,
AMG Capital Mgmt., LLC v. FTC, No. 19-508, undermines this precedent. But the law controlling
the FTC’s authority under Section 13(b) of the FTC Act has not changed in the Eleventh Circuit,
and district courts in the Eleventh Circuit cannot depart from that holding unless the Supreme Court
rules otherwise.
143
    In the case of remedies for deceptive conduct, the FTC need not show “individual reliance by
each” consumer, but rather the same “presumption of actual reliance” discussed supra. McGregor
v. Chierico, 206 F.3d 1378, 1388 (11th Cir. 2000) (citing Figgie Int’l, 994 F.2d at 605-06).


                                                41
       Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 48 of 54




revenue, or gross receipts minus refunds.” Vylah Tec, 378 F. Supp. 3d at 1139; see
also FTC v. Wash. Data Res., Inc., 704 F.3d 1323, 1327 (11th. Cir. 2013) (starting

point for unjust gains is gross receipts without reduction for expenses). Second, the

burden of proof shifts to the defendant “to show the inaccuracy of the FTC’s figure.”
Wash. Data Res., 856 F. Supp. 2d at 1281.144

       FleetCor’s fuel card business generates more than $1,000,000,000 in net

revenue each year.145 Here, the FTC is seeking a fraction of that amount for unjust

gains that FleetCor has accrued over a period of nearly seven years through

widespread misconduct. In particular, monetary relief of $553,213,354.00—based on

three discrete calculations addressing FleetCor’s misconduct—is a reasonable

approximation of Defendants’ unjust gains. All of these calculations are based on

FleetCor’s own transaction data. To ensure that the overall calculation did not

overstate the amount of Defendants’ unjust gains, the FTC took care to eliminate
from consideration all records of non-U.S. customers, customers with individually

negotiated contracts, invoices that were never actually billed to customers, and

144
    The Supreme Court’s decision in Liu v. SEC, 140 S. Ct. 1936 (2020), does not change this
analysis, see CFTC v. Tayeh, 2012 WL 794542, at *2 (11th Cir. Mar. 2, 2012). As courts in this
Circuit have held, Liu’s explanation of the SEC’s authority to obtain “equitable” relief does not
disturb existing circuit law on the FTC’s authority because Liu “dealt with the wrong agency, the
wrong statute, and the wrong remedy.” FTC v. On Point Glob. LLC, 2020 WL 5819809, at *4 (S.D.
Fla. Sept. 30, 2020); see also Simple Health Plans, 801 F. App’x 685 (cases on limitations for SEC
disgorgement did affect precedent on FTC monetary authority). And the relief sought here is
appropriate in any event. As explained below, the total amount the FTC is seeking for a period of
nearly seven years is less than FleetCor’s net revenue in any of one of those years. In addition, the
funds collected from FleetCor will be returned to injured consumers. See Proposed Order at IV.H.
145
    SMF ¶ 8, See Ex. 2 at 32 (FleetCor 2020 10-K).


                                                 42
       Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 49 of 54




duplicate records.146 Further, wherever the FTC encountered ambiguity in FleetCor’s
data, the FTC gave Defendants the benefit of the doubt, including by using data

ending as of the date of the Complaint, as described below.

       First, the FTC’s estimate includes $20,003,163 for the deceptive per-gallon
savings claims (Count I). This calculation is limited to customers who had the

specific Fuelman and UNMC fuel cards at issue,147 and who signed up during the

times that FleetCor made the relevant per-gallon savings claim.148 The FTC then

summed all discounts and relevant gallons each such customer actually received and

purchased, respectively.149 Significantly, because FleetCor’s discount data also

included short-term promotional discounts that were advertised separately, the FTC’s
“discount” calculation includes both forms of discounts, and thus credits FleetCor for

discounts that might have nothing to do with Count I’s per-gallon savings claims.

Then, the FTC determined the savings that each customer was promised by
multiplying the amount of the advertised per-gallon discount by the total gallons

purchased by the customer.150 Defendants’ unjust gains are equal to the difference

between the total promised savings and the actual discounts received: $20,003,163.

       Second, the FTC’s total estimate includes $319,901,900 for deceptive and

unfair billing associated with FleetCor’s transaction fees and fees for add-on
146
    Ex. 8, Miles Decl. ¶¶ 41 tbl.6, 54 tbl.10, 69; see also id. ¶¶ 9-22, 42.
147
    Ex. 8, Id. ¶ 24-26
148
    Ex. 8, Id. ¶ 27-29
149
    SMF ¶¶ 52, 63, 64, 77, 88; Ex. 8, Id. ¶¶ 31-34, 35-38.
150
    Ex. 8, Id. ¶ 40.


                                                   43
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 50 of 54
      Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 51 of 54




payment posted 2 days after the due date, or 5 days after for a check payment. Given

FleetCor’s failure to maintain records of when it actually received payments, the Court

should accept this approximation as reasonable. See Direct Mktg. Concepts, Inc., 624

F.3d at 18; Partners in Health Care Ass’n, 189 F. Supp. 3d at 1370-71.
VI.   Defendants’ Affirmative Defenses Are Without Merit
      Each of FleetCor’s three affirmative defenses should be dismissed. First,
FleetCor pleads that Section 13(b) of the FTC Act does not authorize monetary relief,

Dkt. 8, First Aff. Def., but the Eleventh Circuit has rejected that position. See supra

Part V.B. Second, FleetCor asserts “the FTC’s Complaint fails to state a claim upon
which relief can be granted,” Dkt. 8, 2d Aff. Def., but that is not a proper affirmative

defense, Boldstar Tech., LLC v. Home Depot, Inc., 517 F. Supp. 2d 1283, 1291 (S.D.

Fla. 2007). Finally, FleetCor asserts “the requested relief … would not be in the
public interest,” Dkt. 8, 3d Aff. Def., but the FTC has shown the contrary.
VII. Conclusion
      The FTC requests that the Court grant this motion.

Dated: April 16, 2021                       Respectfully submitted,

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                                           45
Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 52 of 54




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                                46
     Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 53 of 54




                    LOCAL RULE 5.1 CERTIFICATION

     Pursuant to LR 7.1(D), I hereby certify that the foregoing was prepared with

14-point Times New Roman font in accordance with LR 5.1(C).

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                                        47
      Case 1:19-cv-05727-AT Document 122-1 Filed 04/16/21 Page 54 of 54




                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was served on all

counsel of record through this Court’s electronic filing system on this 16th day of

April 2021.
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                                          48
